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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="52c9694661"&gt;&lt;span data-sentence-id="f27e2c1992" quote="false" data-paragraph-id="52c9694661"&gt; Timothy Browne, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="6aa9ea5924" quote="false" data-paragraph-id="52c9694661"&gt; &lt;br /&gt; Industrial Claim Appeals Office of the State of Colorado and City of Colorado Springs, Colorado Respondents &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="99396fcd6a"&gt;No. 21SC588&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7207dd16ac"&gt;March 28, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="1d0f47f133"&gt;&lt;span data-sentence-id="257c3c15b5" quote="false" data-paragraph-id="1d0f47f133"&gt; Court of Appeals Case No. 20CA1475 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="7d0df53684"&gt;&lt;span data-sentence-id="7b958eba7b" quote="false" data-paragraph-id="7d0df53684"&gt; JUSTICE HOOD and JUSTICE GABRIEL do not participate.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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